             UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF WISCONSIN

MICHAEL POE,

                        Plaintiff,
                                                    Case No. 22-cv-880-JPS

v.

CITY OF MILWAUKEE, JAMES
TERRELL, DANIEL SCHAEFER,
                                                TRIAL SCHEDULING
OLIVIA OHLSON, NORA R. BURLO,
WILLIAM MAUCH, CHANCE BAMBA,                               ORDER

                        Defendants.


      In order that the above-captioned litigation—now pending since

August 3, 2022—be brought to conclusion, the following dates have been

set before the Honorable J.P. Stadtmueller in the United States District

Court for the Eastern District of Wisconsin, Room 425 United States

Courthouse, 517 East Wisconsin Avenue, Milwaukee, Wisconsin, 53202:


      INTERIM
      SETTLEMENT
      REPORT:             Tuesday, May 2, 2023

      DISPOSITIVE
      MOTIONS:            Friday, May 5, 2023

      FINAL
      SETTLEMENT
      REPORT:             Tuesday, August 1, 2023

      MOTIONS IN
      LIMINE:             Friday, August 4, 2023




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      RULE 702
      MOTIONS:             Friday, August 4, 2023

      FINAL JOINT
      PRETRIAL
      REPORT:              Wednesday, August 9, 2023 at 2:00 PM

      FINAL PRETRIAL
      CONFERENCE:    Tuesday, August 15, 2023 at 8:30 AM

      JURY TRIAL:          Monday, August 28, 2023 at 8:30 AM


      Where not otherwise specified, the parties should follow the

standard deadlines as set by the Federal Rules of Civil Procedure and the

local rules. Motions for extensions of time will not be looked upon

favorably. The parties and their counsel are bound by the dates set herein,

and no extensions or continuances will be granted without good cause

shown.

      Dated at Milwaukee, Wisconsin, this 3rd day of October, 2022.

                                  BY THE COURT:




                                  J.P. Stadtmueller
                                  U.S. District Judge




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